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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka                        )
THE WING DC)                              )
                                          )
                        Defendants.       )
__________________________________________)

                               THIRD MOTION FOR JUDICIAL NOTICE

          Pursuant to Fed.R. Evid. 201 and the Court’s inherent powers, Plaintiff hereby moves the

Court to take judicial notice of YET MORE newly-arisen adjudicative facts which demonstrate that

Defendants (herein collectively “The Wing”) continue to exclude and discriminate against men, and

thus that Defendants in their motion to dismiss papers deceived the Court about adopting a non-

discriminatory policy with respect to men, all as explained in Plaintiff ’s previous motions for judicial

notice.     These facts consist of further statements on the internet—highlighting The Wing’s

brazenness in its violation of men’s (including Plaintiff ’s) rights.

          The Wing on its public social media accounts, including Twitter, has continued to post

photographs of, and make references to, only women as members or only women as enjoying The

Wing’s accommodations. See Ex. 1 (Pietrangelo Decl.) hereto at ¶ 4.

          The Wing also has continued to publicly refer to itself, or allow itself to be referred to as, a

women’s or female co-working space, and has also continued to publicly disparage, vilify, and

discriminate against men. See id. at ¶ 5. For example:

                                                     1
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          •       On or about April 18, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman retweeted a
                  tweet by The Hollywood Reporter (hollywoodreporter.com), an entertainment-
                  industry-magazine website, noting the opening of The Wing LA or The Wing’s
                  location in Los Angeles, and describing The Wing as “the women’s network.” The
                  retweet also links to an actual Reporter article in pertinent part stating
                  that The Wing is “a space for [] women and non-binary individuals in Los
                  Angeles to work and build community.” The article also notes that The Wing LA
                  contains a “women-run and -staffed cafe,” and then quotes Gelman as saying
                  “[k]itchens are places that are rife with sexual harassment and are very male-
                  dominated, but what we’ve built at The Wing is something that’s very different than
                  that.”1

          •       An April 18. 2019 article by Los Angeles Magazine (lamag.com), an LA-news-
                  magazine website, entitled “The Wing Is Finally Open in L.A.—Here’s What You
                  Need to Know,” stating as the No. 4 thing that people need to know about The
                  Wing: “It’s all about women.”

          •       On or about April 16, 2019, on its Twitter feed, The Wing posted an article by
                  The Cut (thecut.com), a news/political website, about The Wing’s CEO, Audrey
                  Gelman. The article, entitled “How I Get It Done: Audrey Gelman, Co-Founder and
                  CEO of The Wing,” in pertinent part describes The Wing as “the women’s co-
                  working space.”

          •       On or about April 15, 2019, on its Twitter feed, The Wing retweeted a tweet by a
                  Claire Lee in pertinent part stating: “My first day hanging at @the_wing SF today &
                  it was pure joy. Loving the vibe. #nomansland.”2

          •       On or about April 15, 2019, on its Twitter feed, The Wing tweeted the following:
                  a post by member Sarah Corley stating “[t]here’s never been a better time to try out
                  the @the_wing Chicago showers then [sic] after an uncouth (and flu-infested) man
                  on the Metra coughs on you for 45 minutes”; and a response by The Wing stating
                  “that’s why we’re here!!!!!”3




1 In other words, not only does The Wing continue to discriminate against men in hiring for
positions—including “back-of-the-house” positions—at its locations, but it continues to deem all
men to be sexists and sexual harassers. This is confirmed by an April 4, 2019 article by Chicago
Eater (chicago.eater.com), a Chicago-food website, entitled “Inside the Wing, a Luxurious Co-
Working Club and Cafe Designed for Women,” and in pertinent part stating: “As in other locations,
the Wing Chicago will be entirely staffed by women and non-binary people.” As do other human-
rights acts in cities with a location of The Wing, The D.C. Human Rights Act prohibits sex/gender-
based discrimination in employment.
2   This tweet refers to The Wing SF or The Wing location in San Francisco.
3This is part and parcel of The Wing’s stereotyping of men as dirty, diseased, deranged,
discriminatory, and dangerous.

                                                    2
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          •       On or about April 11, 2019, on its Twitter feed, The Wing retweeted a tweet by a
                  Beata Stylianos in pertinent part describing The Wing as a “coworking and
                  community space for women.”

          •       On or about April 11, 2019, on its Twitter feed, The Wing retweeted a tweet by a
                  Carmen Lodato in pertinent part describing The Wing as a “female space.”

          •       On or about April 11, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman tweeted the
                  following: her statement, “one of the things i’m most proud of at @the_wing is that
                  we’ve built a kitchen culture free of sexism & sexual harassment. At our
                  latest Perch Cafe in Chicago, we’ve partnered with a diverse group of local
                  chefs”; a photograph of a group of all women; and a link to an article by
                  Chicago Eater, again, a food website. The actual Chicago Eater article
                  indicates that the women in the photograph are the local chefs with whom
                  The Wing says it has partnered for its Chicago location’s cafe. The article also
                  notes: “In the kitchen, [The Wing’s Culinary & Beverage Director Dani]
                  Dillon said she is working to establish a new normal, free of the sexism and
                  harassment that many women chefs and cooks experience.”4

          •       On or about April 11, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman tweeted:
                  “extremely male energy in cafe select this morning.”5

          •       On or about April 10, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman retweeted a
                  tweet by The Beat DC (thebeatdc.com), a political website, in pertinent part
                  describing The Wing as a “female co-working collective and club.” The retweet also
                  links to an actual The Beat DC article in pertinent part stating that “The Wing — a
                  female co-working space collective and club with offices in Manhattan, Brooklyn,
                  DC, and San Francisco — has hired Saumya Manohar as General Counsel.”

          •       On or about April 10, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman retweeted a
                  tweet by PRWeek US (prweek.com), a public-relations-industry-magazine website, in
                  pertinent part stating that “[w]omen’s coworking space The Wing hires Snap’s Rachel
                  Racusen.” The retweet also links to an actual PRWeek US article, entitled the same as
                  the tweet, and in pertinent part stating that “Racusen has joined The Wing,
                  a co-working and membership club for women, in the newly created position of VP
                  of communications.”

          •       On or about April 5, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                  which is prominently linked-to by The Wing’s Twitter feed, Gelman retweeted a
                  tweet by an Amara Enyia in pertinent part describing The Wing as a “co-working
                  and community space for women!”


4   See footnote 1 above.
5   “Male” here is obviously used as a pejorative adjective.

                                                     3
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         •       On or about April 3, 2019, on The Wing CEO Audrey Gelman’s own Twitter feed
                 which is prominently linked-to by The Wing’s Twitter feed, Gelman retweeted a
                 tweet by Time Out Chicago (timeout.com), a Chicago-leisure website, in pertinent
                 part describing The Wing as a “women’s collective.” The retweet also links to an
                 actual Time Out Chicago article whose title describes The Wing the same way. The
                 article also notes: “A spokesperson from the Wing says that the group’s female-
                 focused policy is inclusive of ‘GNC [gender-non-conforming], non-binary, and trans
                 members who may not identify as women.’”6

         •       A March 21, 2019 article by The Hollywood Reporter, entitled “Liz Goldwyn, Sophia
                 Amoruso Celebrate The Wing’s Forthcoming L.A. Outpost and Magazine,” in
                 pertinent part describing The Wing as a “women-only members club.”7 A
                 photograph accompanying the article, with Audrey Gelman front and center at a
                 dinner table, is of women only.

         •       A March 21, 2019 article by Teen Vogue (teenvogue.com), a lifestyle-magazine website,
                 entitled “How The Wing Has Created a Retail Environment That Actually Helps
                 Women,” in pertinent part describing The Wing as a “community space for women.”
                 The Wing cooperated with Teen Vogue on the article.

         •       A January 10, 2019 article (updated January 14, 2019) by SFGate (sfgate.com), a San
                 Francisco-news website, entitled “Is a workspace designed for women
                 discriminatory?, The Wing instates formal membership policy,” in which it was
                 noted that “The Wing did not respond to requests for comment, nor SFGATE’s
                 inquiries as to whether the new policy means men will be allowed membership.”8

         •       Crain’s New York Business “40 Under 40 2019” list9 quotes The Wing’s CEO Audrey
                 Gelman as stating: “Fully realized, we believe [The Wing] can be a powerful global
                 network of women.”




6Further confirmation that the membership policies, of which The Wing told the Court, did not
actually include the admission of men.
7The original article was replaced by a version which uses the term “women-focused” instead of
“women-only. Plaintiff retains screen-shots of the original article. “Women-focused” still
discriminates based on sex/gender.
8Thus, to be clear, in 2019, The Wing refused to acknowledge—when asked by media no less—
whether men are allowed to be members.
9   Available at https://www.crainsnewyork.com/awards/40-under-40-2019-audrey-gelman.




                                                   4
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       •       An October 16, 2018 article10 by Departures (departures.com), a lifestyle website,
               entitled “A Day of Wellness Your Mind, Body, and Soul Will Thank You For,”
               discussing a wellness event jointly hosted by The Wing and American Express. The
               article in pertinent part states: “The Wing, a women’s only club and co-working
               space with locations in New York City and Washington D.C. (and two additional
               spaces in California opening later this month) has teamed up with American Express
               for its first ever Extreme Self Care Day on Saturday, October 20th. Members of The
               Wing—or, ‘Wing Women’—and Platinum Card Members attending the NYC event
               are in for quite a treat.”

       •       A recent article by OfficeLovin’ (officelovin.com), an office-design website, entitled
               “Inside The Wing’s San Francisco Coworking Space,” in pertinent part describing
               The Wing as a “women-only coworking space.” The Wing SF opened in October
               2018.

               For these reasons, Plaintiff asks the Court to take judicial notice.

                                                       Respectfully submitted,

                                                       /s/ James E. Pietrangelo, II
                                                       _________________________
                                                       JAMES E. PIETRANGELO, II
                                                       Pro Se




10Of course, such an article was well after The Wing’s purported August 30, 2018 policy
purportedly allowing men to be members.

                                                   5
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka         )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                   DECLARATION OF PLAINTIFF JAMES E. PIETRANGELO, II
                  IN SUPPORT OF HIS THIRD MOTION FOR JUDICIAL NOTICE

       I, James E. Pietrangelo, II, hereby state as follows:

       1.         I am over the age of 18, suffer no legal disabilities, and am a legal resident of the

State of Ohio.

       2.         I have personal knowledge of the facts herein and am competent to testify as to all

matters herein.

       3.         I am the Plaintiff in the above-captioned case, and I am making this Declaration as

Exhibit 1 in support of my Third Motion for Judicial Notice.

       4.         I have regularly reviewed The Wing’s website and its public Twitter, Facebook, and

Instagram social media accounts feeds going all the way back to August 29, 2018 (and before), up to

the present day, such that I have viewed virtually every if not every photograph and post on the face

of the website and of the feeds at one time or another. Out of the countless photographs and

written posts on those faces, I do not recall ever having observed any photograph of a man as a

                                                      1
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member or any post referring to a man as a member. All of the photographs and posts of members

have been of women (biological or transgender).

           5.       The bulleted examples in my Third Motion are statements I personally viewed on the

internet and captured to some degree by screen-shot.



           Pursuant to 28 U.S.C.§ 1746, I declare under penalty of perjury that the foregoing is true and

correct.

Executed on this 23rd day of April 2019.                 /s/ James E. Pietrangelo, II
                                                         _________________________
                                                         JAMES E. PIETRANGELO, II




                                                     2
